                    IN THE UNITED STATES DISTRICT COURT FOR
                        THE WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

LOCAL UNION NO. 124 IBEW PENSION )
TRUST FUND, et al.,              )
                                 )
               Plaintiffs,       )
                                 )                    Case No. 17-00920-CV-W-GAF
                                 )
KANSAS CITY SERVICE COMPANY,     )
LLC,                             )
                                 )
              Defendant.         )

                             SCHEDULING AND TRIAL ORDER

        Pursuant to Rules 16(b) and 26(f) of the Federal Rules of Civil Procedure, and upon

consideration of the parties= views in the matter, the following schedule is hereby established:

        1.      Any motion to join additional parties shall be filed on or before February 16,

2018.

        2.      Any motion to amend the pleadings shall be filed on or before February 16, 2018.

        3.      All discovery motions relating to fact discovery shall be filed on or before

September 21, 2018.

        4.      All pretrial discovery authorized by the Federal Rules of Civil Procedure shall be

completed on or before September 21, 2018. This means that all discovery shall be completed,

not simply submitted, on the date specified by this paragraph.         Accordingly, all discovery

requests and depositions shall be submitted and/or scheduled prior to the date specified in this

paragraph and shall allow sufficient time for completion within the time specified by the Federal

Rules of Civil Procedure, the Local Court Rules, and/or orders of this Court. The Court reserves

the right to exercise control over the taking of depositions.




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       The Court will not entertain any discovery motion absent full compliance with Local

Rule 37.1. Any discovery motion filed without complying with Local Rule 37.1 will be

denied. In the event that a teleconference is needed, my Judicial Assistant/Courtroom

Deputy may be reached at 816-512-5660. All teleconference requests should be directed to

her. A description of the discovery dispute, not to exceed one page in length, should be

emailed to my Judicial Assistant/Courtroom Deputy at lisa_mitchell@mow.uscourts.gov

and my law clerk at janelle_neibuhr@mow.uscourts.gov within three hours of the

teleconference. The movant is responsible for initiating the call.

       5.      The plaintiff shall designate any expert witnesses it intends to call at trial on or

before June 15, 2018, and the defendant shall designate any expert witnesses it intends to call at

trial on or before June 15, 2018. This paragraph applies to all witnesses from whom expert

opinions will be elicited, regardless of whether the witness was specially retained to provide trial

testimony.

       6.      Along with each party=s designation of expert witnesses, each party shall provide

the other parties with an affidavit from each expert witness designated pursuant to paragraph 5

above. The affidavit shall include a complete statement of all opinions to be expressed and the

bases and reasons therefor, the data or other information considered by the witness in forming

the opinions, any exhibits to be used as a summary of or support for the opinions, the

qualifications of the witness (including a list of all publications authored by the witness within

the preceding ten years), the compensation to be paid for the study and testimony, and a listing of

any other cases in which the witness has testified as an expert at trial or by deposition within the




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preceding four years. Expert witnesses may testify only as to matters contained in the affidavit

described above unless leave of Court is granted upon good cause shown.

         7.      With respect to treating physicians who will testify as to treatment provided, the

requirements of paragraph 6 of this Order may be satisfied by providing a copy of all the treating

physician=s files, records and notes relating to the treating physician=s patient to the opposing

party.    For the purpose of this paragraph, a Atreating physician@ is a doctor (including

psychiatrist, dentist or other practitioner of the healing arts) retained by a party prior to retaining

counsel in this matter. A treating physician will not be allowed to give expert testimony beyond

the treatment provided by said physician unless designated as an expert as required under

paragraph 5 of this Order. A treating physician who will provide expert testimony beyond the

treatment provided by said physician must further comply with the requirements of paragraph 6

of this Order.

         8.      All dispositive motions, except those under Rule 12(h)(2) or (3), shall be filed on

or before October 26, 2018. All dispositive motions shall have a separate section wherein each

statement of fact is individually numbered so that any party opposing such motion may refer

specifically to a genuine issue of material fact. Suggestions in opposition to a dispositive motion

shall begin with a concise listing of material facts as to which the party contends a genuine

dispute exists. All motions for summary judgment shall comply with Local Rules 7.1 or .2 and

56.1.

         9.      All motions for extension of time pursuant to Rule 6(b) or Rules 31, 33, 34 and 36

must state:

                 a.     The date when the pleading, response or other action is/was first due;


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              b.      The number of previous extensions and the date the last extension expires;

              c.      The cause for the requested extension, including a statement as to why the
                      action due has not been completed in the allotted time; and

              d.      Whether the requested extension is approved or opposed by opposing
                      counsel (agreement by counsel of a requested extension is not binding on
                      the Court).

       10.    This case is scheduled for a bench trial, commencing at 9:00 a.m., on April 15,

2019, at the United States District Courthouse in Kansas City, Missouri.

       11.    Teleconferences by cell phone are discouraged.           Counsel must have a clear

connection without interference from background noise.               Otherwise, counsel may be

disconnected and considered as having failed to appear.

       12.    A final pretrial conference in this case will be held at 10:00 a.m., on March 14,

2019, via telephone conference initiated by plaintiffs' counsel; the Court’s telephone number is

816-512-5660. Lead trial counsel shall participate in this conference. The agenda for this

conference will include:

              a.      Identification of facts not in dispute to which the parties will stipulate, in
                      order to save trial time;

              b.      Identification of legal and factual issues to be tried;

              c.      Disposition of pending motions;

              d.      Discussion of any legal questions which must be resolved prior to trial;

              e.      Discussion of nay suggestions by counsel to simplify and expedite the
                      trial; and

              f.      Discussion of the status and likely success of settlement negotiations.

       13.    Prior to the pretrial conference, the following documents shall be filed:



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   a.    Motions in limine shall be filed at least ten (10) days prior to the pretrial
         conference. Responses to motions in limine shall be filed at least three (3)
         days prior to the pretrial conference.

   b.    At least three (3) days prior to the date the pretrial conference is to be
         held, the parties shall file a stipulation of any uncontroverted facts. If no
         stipulated facts can be agreed upon, including facts related to the Court=s
         subject matter or personal jurisdiction, the parties shall file a joint
         statement to that effect. Notwithstanding the fact that the time for
         discovery will have closed, a request to stipulate, if preserved in the
         record, will constitute a request for admission under Rule 36 and failure to
         stipulate may be subject to sanctions under Rule 37(c).

   c.    At least three (3) days prior to the date the pretrial conference is to be
         held, the parties shall file a stipulation as to the admissibility of evidence,
         when the identification and foundation of the exhibit is not to be
         contested. Notwithstanding the fact that the time for discovery will have
         closed, a request to stipulate, if preserved in the record, will constitute a
         request for admission under Rule 36 and failure to stipulate may be subject
         to sanctions under Rule 37(c).

   d.    Pursuant to Local Rule 39.1, at least three (3) days prior to the date the
         pretrial conference is to be held each party shall file and serve a list of all
         witnesses who may be called at trial. If a witness is not listed by a party,
         that witness will not be permitted to testify absent leave of Court and then
         only for the purpose of unanticipated rebuttal or impeachment. After the
         time for filing lists of witnesses has expire, no supplemental or amended
         list will be filed without leave of Court and for good cause.

   e.    Pursuant to Local Rule 39.1, at least three (3) days prior to the date the
         pretrial conference is to be held that party will file and serve a list of all
         exhibits which may be offered at trial. The parties shall additionally
         prepare and provide to the courtroom deputy an exhibit index, with said
         index being prepared on a form provided by the clerk=s office. Each
         exhibit will be designated as either APlaintiff=s@ or ADefendant=s,@
         numbered with an Arabic numeral and described following the
         enumeration. If an exhibit consists of more than one (1) page or part, the
         number of pages or parts shall be included in the description. The exhibit
         number must be marked on each exhibit at the time of listing. It is not
         necessary to list exhibits to be used only for rebuttal purposes. Except by
         leave of Court for good Cause, no exhibit will be received in evidence
         which is not listed by the counsel offering the exhibit. After the time for
         filing lists of exhibits has expired, no supplemental or amended list of
         exhibits will be filed without leave of Court for good cause.

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      f.     Ten (10) days before the date the pretrial conference is to be held, each
             party asserting an affirmative claim or claims for relief (plaintiff, third-
             party plaintiff, counterclaiming defendant, etc.), shall file and serve a
             designation, by page and line number, of any deposition testimony to be
             offered in evidence as a part of that party=s case.

      g.     At least five (5) days before the date the pretrial conference is to be held,
             each party defending against an affirmative claim for relief shall file and
             serve:

             I.      Any objections to proposed deposition testimony designated by
                     any other party;

             ii.     A designation, by page and line number, of any deposition
                     testimony to be offered as cross-examination to deposition
                     testimony designated by other parties; and

             iii.    A designation, by page and line number, of any deposition
                     testimony to be offered in evidence as part of that party=s case-in-
                     chief in connection with such defense.

      h.     On or before the pretrial conference, each party shall serve, file and
             deliver to all other parties its objections to any deposition testimony
             designated pursuant to subparagraph g. ii. and iii. above.

14.   The following documents shall be filed prior to trial:

      a.     At least five (5) days prior to the date of trial, counsel for each party may
             file a trial brief stating the factual and legal contentions for the party for
             whom the trial brief is filed.

      b.     At least five (5) days prior to the date of trial, counsel for each party are
             required to file proposed findings of fact and conclusions of law. Parties
             shall also submit computer disks containing their proposed findings of fact
             and conclusions of law. A courtesy copy of the proposed findings of fact
             and conclusions of law shall be emailed to my Judicial
             Assistant/Courtroom Deputy, lisa_mitchell@mow.uscourts.gov in
             Microsoft Word or compatible software format at the time of filing.




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      15.   The Court may place time limits on opening statements, and direct and cross-

            examination of all witnesses.          You should be prepared to support your

            representations as to the length of trial.

      16.   In order to ensure the efficient use of time during trial, the following rules of

            Court will be imposed:

            a.      All legal issues must be raised in advance of trial by written motions and
                    in accordance with the scheduling order of this Court;

            b.      Motions will not be heard during trial without a strong showing that
                    counsel could not, by due diligence, have raised them sooner;

            c.      Testimony will not be interrupted to deal with evidentiary matters that
                    could have been heard in advance of trial. The Court will consider those
                    matters during recess, at noon break, or at the end of the day. Counsel
                    should be prepared with written authority for their positions; and

            d.      Witnesses who will be testifying from exhibits or about exhibits should
                    review them immediately prior to their testimony.


IT IS SO ORDERED.

                                                    s/ Gary A. Fenner
                                                    GARY A. FENNER, JUDGE
                                                    UNITED STATES DISTRICT COURT

DATED: January 25, 2018




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